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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

                                          :
THE CHARTER OAK FIRE INSURANCE
COMPANY, et al.                           :

     v.                                   :    Civil Action No. DKC 09-0100

                                          :
AMERICAN CAPITAL, LTD., et al.
                                          :

                               MEMORANDUM OPINION

     Defendant American Capital, Ltd. (“American Capital”) is a

fund that invests in other companies.                      One of its purported

investments,       Defendant    Scientific         Protein    Laboratories,      LLC

(“SPL”), was allegedly involved in the sale and distribution of

a tainted drug.       Now, American Capital and SPL find themselves

embroiled    in    several     lawsuits       in   several    courts.      American

Capital    wants    its   insurers,      Plaintiffs     The    Charter    Oak    Fire

Insurance    Company       (“Charter      Oak”)      and     Travelers     Property

Casualty    Company       of   America        (“Travelers”),     to     defend    and

indemnify those suits.           The insurers resisted and filed this

action, wherein they seek to rescind or reform the relevant

insurance contracts and ask the court to declare that neither

insurer is required to defend or indemnify Defendants in the

underlying suits.

     American Capital and its co-defendants in this case have

now filed a partial motion to dismiss.                       (ECF No. 49).        The
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issues are fully briefed and the court now rules, no hearing

being deemed necessary.         See Local Rule 105.6.          For the reasons

that follow, Defendants’ motion will be granted in part and

denied in part.

I.   Background

     A.      Factual Background1

     1.      The Policies

     From 2006 to 2009, American Capital purchased three primary

insurance policies and three umbrella insurance policies from

Charter Oak and Travelers (the “Policies”).                  (ECF No. 44, Am.

Compl.     ¶¶   15-20).      The   Policies         cover   general   commercial

liability over three one-year periods, each beginning on June

14: (1) 2006 to 2007, (2) 2007 to 2008, and (3) 2008 to 2009.

(Id. ¶¶ 15, 18).       Charter Oak issued the primary policies, which

each carry liability limits of $1 million per occurrence and $2

million     aggregate.      (Id.   ¶¶   15,       16).   Travelers    issued   the

umbrella policies, which contain varying limits on liability:

the 2006-2007 umbrella policy provided $10 million in limits,

while the 2007-2008 and 2008-2009 policies provided $20 million

in limits.       (Id. ¶¶ 18, 19, 113).             The Policies list American

Capital as the Named Insured.


     1
          The facts herein are drawn from                    Plaintiffs’   first
amended complaint. (ECF No. 44, Am. Compl.).

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       Like     most    insurance      contracts,          the        Policies      included

certain limitations and exclusions.                       Some of these provisions

are particularly relevant in this action.                             One provision, for

instance,      provides      that    “[n]o   person        or     organization        is    an

insured with respect to the conduct of any current or past . . .

joint venture . . . that is not shown as a Named Insured in the

Declarations.”         (Id. ¶ 89).           The Policies limit coverage to

injuries that occurred during the policy period and were unknown

to American Capital before that period.                        (Id. ¶ 101-102).           Only

American Capital and those entities over which American Capital

maintained “ownership or majority interest on the effective date

of the policy” are insureds (id. ¶¶ 106-107), and the Policies

do not cover partnerships, joint ventures, or limited liability

companies      (id.    ¶¶    108-109).          Nor       do     they     cover     injuries

occurring before or more than 180 days after the acquisition or

formation of a subsidiary.                 (Id. ¶¶ 108-109).                The umbrella

policies contain an “other insurance” clause, which states that

the    policy    does       not    apply   wherever            “any     other     valid    and

collectible insurance” is available.                  (Id. ¶ 113).

       The Policies also impose certain obligations on American

Capital.       In particular, the Policies require American Capital

to notify Plaintiffs of any claims arising under the Policies.

(Id.   ¶¶     110-112).       In    addition,       the    Policies       contain     a    “no

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action”       clause,   which     forbids    any      insured    from     “voluntarily

mak[ing] a payment, assum[ing] any obligation, or incur[ing] any

expense,        other   than      for    first       aid,   without       [Plaintiffs’]

consent.”       (Id. ¶ 93).

       2.      The Underlying Lawsuits

       American Capital has sought insurance coverage for itself

and its purported subsidiaries for two classes of lawsuits.

       The first and most important class is a group of lawsuits

concerning heparin.2            In those suits, American Capital and SPL

have been forced to defend several claims that stem from “deaths

and injuries from allegedly tainted heparin.”                        (Id. ¶ 21).      In

particular, the lawsuits assert that one or more ingredients of

certain heparin, including its active pharmaceutical ingredient,

were tainted or contaminated during processing in China.                        (Id.).

Changzhou SPL Company, Ltd., a joint venture between SPL and

Tech-Pool Bio-Pharma Company, oversaw this processing.                          (Id. ¶

23).        Once processing in China was complete, the heparin was

purportedly       shipped    to    the   United       States    to   be    finished   by

Baxter International, Inc. and Baxter Healthcare Corporations




       2
          “Heparin is a drug that is used to prevent the
formation of clots within the blood of humans.” (ECF No. 44,
Am. Compl., ¶ 21).

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(“Baxter”).       (Id. ¶ 24).        It was then distributed for patient

use.    (Id.).

        More than 100 heparin lawsuits were filed against American

Capital and/or SPL before April 10, 2009, when American Capital

stopped forwarding heparin lawsuits to Plaintiffs.                            (Id. ¶ 21).

Since    that    time,   even   more      lawsuits         have    been     filed.        (Id.

¶ 25).

        According to the insurers, American Capital sought coverage

for    itself    and   SPL,   as    it    says       SPL   is     an    American     Capital

subsidiary.      (Id. ¶ 3).        Plaintiffs decline to provide coverage

to either party because American Capital failed to advise them

that it sought coverage for SPL when it renewed its policies

with Plaintiffs in 2007 and 2008, or at any other time.                              (Id. ¶¶

27, 82).

        The insurers argue that American Capital’s exact interest

in SPL is unclear, and that American Capital has “equivocate[d]

on whether SPL and other companies are or are not subsidiaries

of    American    Capital.”        (Id.    ¶   85).         The        complaints    in    the

underlying lawsuits “variously allege that SPL is a subsidiary

of, solely owned by, or majority owned by American Capital,

and/or that American Capital is the parent of SPL.”                           (Id. ¶ 22).

American     Capital     has       responded         “inconsistently”          to      these

allegations while concurrently arguing that SPL is a subsidiary

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of   SPL      Acquisition       Corporation.             (Id.).        SPL     Acquisition

Corporation      has    in     turn    represented        that    it     has   no    parent.

(Id.).

        In addition to the heparin lawsuits, this case concerns

coverage for one other type of lawsuit.                          American Capital and

another of its purported subsidiaries, Defendant SMG, have been

named    as    defendants       in    a    lawsuit       involving       injuries      to    a

spectator at an Ohio sports arena.                  (Id. ¶ 28).          During an event

at Nationwide Arena, a falling sheet of glass allegedly struck

the spectator, knocking her unconscious.                        (Id.).     The plaintiff

in   that     case    maintains       that   American       Capital       is   the    parent

company of SMG.         (Id. ¶ 29).

        American Capital and SMG originally requested defense and

indemnity from Plaintiffs for the arena injury case, but have

since    withdrawn      that    request.         (Id.      ¶¶    30-31).       Plaintiffs

nevertheless         include    the    lawsuit      in    their    amended      complaint

because “American Capital has not disavowed its position that it

is owed coverage for lawsuits relating to entities that it did

not disclose to Charter Oak and Travelers.”                         (Id. ¶ 31).             The

arena injury lawsuit is evidence, Plaintiffs say, that American

Capital     “never      intended      to     obtain      liability       insurance      with

respect to other entities.”               (Id.).



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        3.   American Capital’s Allegedly False Representations

        Plaintiffs aver that neither American Capital nor any one

of its subsidiaries is entitled to coverage under the Policies

because American Capital made certain “material and intentional”

false    representations.       (Id.   ¶       84).   Among   other   things,

American Capital purportedly made several misrepresentations in

its insurance applications.       For example:

  •     American Capital submitted insurance applications in 2006
        and 2008 indicating that it had no subsidiaries, even
        though it now seeks coverage for subsidiaries (id. ¶¶ 32,
        34);

  •     American Capital acquired SPL in 2006, but answered “no” on
        its 2008 insurance application when asked whether it had
        acquired any operations in the past five years (id. ¶ 37);

  •     American Capital had been named as a defendant in at least
        one heparin lawsuit before submitting its 2008 insurance
        application, but nevertheless answered “no” when asked
        whether there had been any product liability loss in the
        last three years (id. ¶ 40);

  •     In early 2008, heparin and heparin’s active pharmaceutical
        ingredient were recalled, but American Capital answered
        “no” on its 2008 insurance application when asked whether
        any products had been recalled (id. ¶ 43);

  •     American Capital answered “no” in one or more insurance
        applications when asked whether it sold, distributed, or
        used foreign products as components, even though the
        heparin was processed in China (id. ¶ 46);

  •     American Capital admitted in heparin lawsuits that the
        allegedly tainted heparin was processed by a joint venture,
        but answered “no” on one or more of its insurance
        applications when asked whether it had been active or was
        currently active in any joint ventures (id. ¶ 49); and

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  •   American Capital did not provide details of pending heparin
      lawsuits in its 2008 application, even though it was asked
      to give details “of all liability claims exceeding $10,000,
      or occurrences that might give rise to such claims” (id. ¶
      52).

      The alleged misrepresentations are not limited to American

Capital’s     insurance     applications.        For       example,        when     it

purchased policies for the 2006-2007 period, American Capital

submitted a summary of all claims paid and pending against it

between June 2004 and June 2006.          (Id. ¶ 58).        The loss summary

did not show any “premises/operations liability claims paid or

pending,” and American Capital did not submit a loss summary for

any entity other than itself.         (Id. ¶¶ 58-59).

      American    Capital      also     submitted         Commercial        General

Liability    Exposure     Schedules   each    time   it    sought     or    renewed

coverage.    (Id. ¶ 61).      These schedules identified only offices

of American Capital, gave a risk classification of “office,” and

did not state any risk based on manufacturing or sales.                     (Id. ¶¶

65-67.)      The Schedules did not identify any subsidiaries or

other owned entities of American Capital, including SPL.                          (Id.

¶¶ 68-69).    American Capital did not identify SPL as an exposure

on the Schedules after it acquired SPL in 2006.                (Id. ¶¶ 72-73,

76-77).

      Finally,   Plaintiffs    note    that   American      Capital        asked   to

update the Location Schedule of the Declarations Page of the

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2007-2008 policy to include new American Capital offices.                   (Id.

¶ 79).        American Capital did not include SPL’s offices in that

update.       (Id. ¶ 80).

        4.     The Baxter Settlement

        Plaintiffs allege also that American Capital settled with

Baxter, its co-defendant in several of the heparin lawsuits,

even though it was prohibited from doing so.                  On October 23,

2008, Plaintiffs sent American Capital a letter reminding it not

to enter into a settlement without Plaintiffs’ express written

consent.        (Id. ¶ 92).       The letter also reserved Plaintiffs’

rights to disclaim coverage if American Capital entered such a

settlement without consent.         (Id.).

        Despite these admonitions, American Capital and SPL entered

into one or more settlements with Baxter on December 2, 2008.

(Id. ¶ 94).        Under the settlement agreements, SPL promised to

make payments to Baxter.          (Id.).     In addition, SPL and American

Capital jointly agreed to assign any insurance benefits from the

2007-2008 insurance policy to Baxter.            (Id.).     Plaintiffs assert

that neither American Capital nor SPL notified Plaintiffs of the

settlement or asked Plaintiffs to approve it.             (Id. ¶¶ 95-96).

        B.     Procedural Background

        Plaintiffs   filed    a   five-count    complaint    on   January   16,

2009.        (ECF No. 1, Compl.).      That complaint sought to rescind

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the Policies, alternatively asked to reform the Policies based

on mutual or unilateral mistake, asserted a claim of unjust

enrichment, and asked the court to declare that Plaintiffs do

not owe Defendants a duty to defend or indemnify in the heparin

or arena injury lawsuits.

        Defendants filed an answer on April 17, 2009.          (ECF No. 5).

Defendants also asserted several counterclaims, including their

own request for declaratory relief, an allegation of bad faith,

and two claims for breach of contract.             (ECF No. 5 ¶¶ 106-56).

Defendants filed a first amended answer and counterclaims with

Plaintiffs’ consent on June 10, 2009.              (ECF No. 19).     On July

10,     2009,   Defendants   filed    a   motion    for   judgment   on    the

pleadings (ECF No. 24).        In a memorandum opinion dated February

2, 2010, the court granted Plaintiffs leave to file a first

amended complaint, which dropped the unjust enrichment count and

left four counts.       (ECF No. 42).     The motion for judgment on the

pleadings was therefore denied as moot and the process started

anew.       (Id.).   Two months later, on April 1, 2010, Defendants

filed the presently pending motion to dismiss.            (ECF No. 49).3




        3
       Some months ago, the parties requested the court to defer
resolution of this motion while they engaged in settlement
discussions, eventually with the assistance of a magistrate
judge.   The court has been informed that those efforts have
ended, unfortunately with no settlement.
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II.     Standard of Review

        Defendants have moved to dismiss pursuant to Federal Rule

of Civil Procedure 12(b)(6).                  A motion to dismiss pursuant to

Rule     12(b)(6)      is     meant    to     test    the     sufficiency           of   the

plaintiff’s complaint.            See Edwards v. City of Goldsboro, 178

F.3d    231,    243    (4th    Cir.    1999).         Ordinarily,        a   plaintiff’s

complaint need only satisfy the “simplified pleading standard”

of Rule 8(a), Swierkiewicz v. Sorema N.A., 534 U.S. 506, 513

(2002), which requires a “short and plain statement of the claim

showing that the pleader is entitled to relief.”                             Fed.R.Civ.P.

8(a)(2).         Nevertheless,         “Rule        8(a)(2)      still       requires     a

‘showing,’ rather than a blanket assertion, of entitlement to

relief.”        Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 n.3

(2007).        That showing must consist of more than “a formulaic

recitation      of    the   elements     of    a    cause   of    action”      or    “naked

assertion[s] devoid of further factual enhancement.”                             Ashcroft

v.     Iqbal,   129    S.Ct.     1937,      1949     (2009)      (internal      citations

omitted).

        In its determination, the court must consider all well-pled

allegations in a complaint as true, Albright v. Oliver, 510 U.S.

266, 268 (1994), and must construe all factual allegations in

the light most favorable to the plaintiff.                          See Harrison v.

Westinghouse Savannah River Co., 176 F.3d 776, 783 (4th Cir.

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1999) (citing Mylan Labs., Inc. v. Matkari, 7 F.3d 1130, 1134

(4th   Cir.       1993)).      The     court        need   not    accept,       however,

unsupported legal allegations, Revene v. Charles Cnty. Comm’rs,

882 F.2d 870, 873 (4th Cir. 1989), legal conclusions couched as

factual allegations, Iqbal, 129 S.Ct. at 1950, or conclusory

factual allegations devoid of any reference to actual events,

United Black Firefighters v. Hirst, 604 F.2d 844, 847 (4th Cir.

1979); see also Francis v. Giacomelli, 588 F.3d 186, 193 (4th

Cir. 2009).        “[W]here the well-pleaded facts do not permit the

court to infer more than the mere possibility of misconduct, the

complaint has alleged, but it has not ‘show[n] . . . that the

pleader      is   entitled   to     relief.’”         Iqbal,     129    S.Ct.   at   1950

(quoting Fed.R.Civ.P. 8(a)(2)).                Thus, “[d]etermining whether a

complaint states a plausible claim for relief will . . . be a

context-specific task that requires the reviewing court to draw

on its judicial experience and common sense.”                     Id.

       The    complaint      also    includes        allegations        of   fraud   and

mistake, which require a higher showing to survive a motion to

dismiss.      Rule 9(b) provides that “in all averments of fraud or

mistake, the circumstances constituting fraud or mistake shall

be stated with particularity.”             “Malice, intent, knowledge, and

other condition of mind of a person may be averred generally.”

Harrison, 176 F.3d at 784 n.6 (quoting Fed.R.Civ.P. 9(b)).                           Not

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all    the     claims     alleged    in     the    complaint    include          fraudulent

behavior        or     mistake.      Only     those    claims        that    require      an

essential showing of fraud must meet the higher standard of Rule

9(b).        See, e.g., Balt. Cnty. v. Cigna Healthcare, 238 F.App’x.

914, 921-22 (4th Cir. 2007).

        The    parties     submitted      many    documents     in    connection       with

this        motion.      Generally,    “extrinsic       evidence          should    not   be

considered at the 12(b)(6) stage.”                    Am. Chiropractic Ass’n v.

Trigon       Healthcare,     Inc.,    367    F.3d     212,   234     (4th    Cir.    2004).

Nevertheless, a court may consider an extrinsic document if “it

was integral to and explicitly relied on in the complaint and

[if] the plaintiffs do not challenge its authenticity.”                                   Id.

(quoting Phillips v. LCI Int’l Inc., 190 F.3d 609, 618 (4th Cir.

1999)).        The court may also “take judicial notice of matters of

public        record.”       Sec’y     of    State     For     Defence       v.     Trimble

Navigation Ltd., 484 F.3d 700, 705 (4th Cir. 2007).                          At the same

time,        oblique    references     in    the    complaint        to     an    extrinsic

document are not enough to justify considering that document.

In re Acterna Corp. Sec. Litig., 378 F.Supp.2d 561, 571 (D.Md.

2005).4




        4
          The volume of exhibits may suggest that this motion be
converted into one for summary judgment. Neither party requests
conversion and, given the lack of discovery, the court will
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III. Analysis

       A.        Choice of Law

       The court must first determine which state’s law governs

this dispute.           The parties raise this dispute only in arguing

over whether the Maryland or Pennsylvania parol evidence rule

applies,         but   the   question     is    actually   relevant   to   all   the

claims.      The answer is that Maryland law governs.

       1.        General Choice of Law Principles

       In a federal diversity case such as this one, the court

must apply the choice of law rules of the forum state, i.e.,

Maryland.         See Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S.

487,       496    (1941).      In   the        first   instance,   Plaintiffs    and

Defendants disagree on whether Maryland tort or contract choice

of law principles apply.

       All the claims relate to the validity of the Policies or

the scope of their coverage.5                  The amended complaint, including



treat the motion as one under Rule 12(b)(6) and consider only
materials that fit within one of the above-described categories.
       5
          Because   all  the   claims  fall   within  the   same
fundamental dispute - a dispute as to the validity of the policy
or the meaning of its terms - the court does not need to go
issue by issue and determine whether different substantive
bodies of law apply. Erie Ins. Exch. v. Heffernan, 399 Md. 598,
620-21 (2007).    That concept, called dépeçage, is implicated
only where “choice-influencing considerations differ as they
apply to the different issues.” Id. at 620 (quoting Buchanan v.
Doe, 246 Va. 67, 71 (1993)).

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the rescission claim, does not state a claim for “fraudulent

inducement of an insurance contract” (ECF No. 49-1, at 42),

which is an entirely different cause of action.                       This is a

dispute over the interpretation and scope of a contract.                    Thus,

Maryland contract choice of law principles apply.                     See, e.g.,

Hsue   Tung    v.    Peters,    No.   AW-09-576,   2009   WL    5206627,    at   *3

(D.Md. Dec. 23, 2009) (applying Maryland contract choice of law

principles in action for rescission).

       In contract actions, Maryland courts “apply the substantive

law of the place where the contract was made.”                  Cont’l Cas. Co.

v. Kemper Ins. Co., 173 Md.App. 542, 548 (2007) (citing Cooper

v. Berkshire Life Ins. Co., 148 Md.App. 41, 55 (2002)).                          “A

contract      is    made   in   the   place    where   the     last   act   occurs

necessary under the rules of offer and acceptance to give the

contract a binding effect.”            Id. (quoting Cooper, 148 Md.App. at

55).    When dealing with an insurance policy, the locus contractu

“is the state in which the policy is delivered and the premiums

are paid.”         Id. (quoting Aetna Cas. & Sur. Co. v. Souras, 78

Md.App. 71, 77 (1989)); see also AXA Equitable Life Ins. Co. v.

Anderson, No. CCB-09-1380, 2010 WL 2302341, at *2 (D.Md. June 4,

2010) (same).

       Normally the locations of delivery and payment are easy to

determine.         Here, however, there is disagreement.              Defendants

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argue      that    delivery     occurred        in    Pennsylvania     because           (1)

Plaintiffs delivered the Policies to McKee Risk Management Inc.,

the insurance producer for the Policies, in Pennsylvania; and

(2)     Defendants       mailed    their        premium     payments       to     McKee’s

Pennsylvania location.            (ECF No. 49-1, at 34-35).                  Plaintiffs

want discovery to determine where delivery and payment happened.

(ECF No. 52, at 27).

      2.     Renvoi

      The parties disagree over a moot point.                    Under the doctrine

of    renvoi,      Maryland       law     applies       –   even     assuming           that

Pennsylvania       was    the     place    of    delivery     and     payment          under

Maryland choice of law principles.                Renvoi means that:

             . . . when the forum court’s choice-of-law
             rules would apply the substantive law of a
             foreign jurisdiction to the case before the
             forum court, the forum court may apply the
             whole body of the foreign jurisdiction’s
             substantive   law   including  the  foreign
             jurisdiction’s choice-of-law rules.  If, in
             applying renvoi principles, the foreign
             jurisdiction’s conflict of law rules would
             apply the forum’s law, this reference back
             of the forum to its own laws is called a
             remission.

Am. Motorists Ins. Co. v. ARTRA Grp., Inc., 338 Md. 560, 574

(1995) (citations omitted).                Maryland courts apply a limited

renvoi      exception      to     traditional         contract      choice       of      law

principles        and    employ    Maryland          substantive     law        when     two

conditions are met:
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              1)   Maryland   has  the most  significant
              relationship, or, at least, a substantial
              relationship with respect to the contract
              issue presented; and

              2) The state where the contract was entered
              into would not apply its own substantive
              law,   but  instead  would  apply  Maryland
              substantive law to the issue before the
              court.

ARTRA Grp., 338 Md. at 579.

      Here, Maryland has a substantial interest in the litigation

given that American Capital maintains its principal place of

business in Bethesda, Maryland.               (ECF No. 44, Am. Compl. ¶ 10).

Cf. Pink v. A.A.A. Highway Express, Inc., 314 U.S. 201, 211

(1941)   (“The     interpretation       and    legal     effect   of   policies    of

insurance entered into by the inhabitants of [a state] . . . are

peculiarly matters of local concern.”).                  Thus, the only question

is whether Pennsylvania would in fact apply Maryland law.

      At present, under Pennsylvania choice of law principles,

the   first    step    “is    to     determine   whether     a    conflict     exists

between the laws of the competing states.”                   Budtel Assocs., LP

v. Cont’l Cas. Co., 915 A.2d 640, 643 (Pa.Super. 2006).                        If no

conflict exists, Pennsylvania would apply its own law.                       That is

not the case here, particularly in the context of the rescission

claim.        In    Pennsylvania,        the     parol     evidence     rule     bars

“consideration        of     prior    representations       concerning       matters

covered in the written [integrated] contract, even those alleged
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to have been made fraudulently, unless the representations were

fraudulently omitted from the contract.”                     Dayhoff Inc. v. H.J.

Heinz    Co.,    86    F.3d    1287,   1300     (3d       Cir.   1996)   (citing    HCB

Contractors v. Liberty Place Hotel Assoc., 539 Pa. 395, 398-99

(1995)).      Maryland courts take a more permissive approach:

              [The   parol   evidence   rule’s]   name  has
              distracted attention . . . from the real
              issues that are involved which may be any
              one or more of the following: (1) Have the
              parties made a contract?        (2) Is that
              contract   void   or   voidable   because  of
              illegality, fraud, mistake, or any other
              reason?   (3) Did the parties assent to a
              particular writing as the complete and
              accurate integration of that contract? . . .
              In determining these issues, or any one of
              them, there is no parol evidence rule to be
              applied.     On these issues, no relevant
              evidence, whether parol or otherwise is
              excluded.       No    written   document   is
              sufficient, standing alone, to determine any
              one of them.

Whitney v. Halibut, Inc., 235 Md. 517, 527 (1964) (citations and

quotations       omitted).          Even     when     a     contract     contains   an

integration clause, Maryland – in contrast to Pennsylvania –

allows    a   party     to    use   parol    evidence       contradicting     express

contractual terms where the other party acted fraudulently.                         See

Greenfeld       v.    Heckenbach,      144    Md.App.        108,   132-35    (2002).

Pennsylvania’s more restrictive rule clashes with the Maryland

approach, which creates a genuine conflict.



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       Defendants characterize the present situation as a “false

conflict” because they believe that only Pennsylvania has an

interest in the application of its law.                                (ECF No. 54, at 16).

Pennsylvania courts have indeed found a false conflict “exists

when only one state has an actual interest in applying its law.”

3039 B Assocs., Inc. v. Lexington Ins. Co., No. 09-1079, 2010 WL

3431623,      at   *3    (E.D.Pa.           Aug.       27,    2010).            And   admittedly,

Pennsylvania has an interest in not allowing contracts created

in    that   state      to    be     sullied       by       the   excessive       use    of   parol

evidence.       But Maryland has a competing interest in applying its

own law because at least one insured, American Capital, has its

principal place of business in the state.                              Maryland may not wish

its    residents        to        benefit    from       the       type     of    misleading        or

deceitful behavior alleged here.                            Cf. Life Partners, Inc. v.

Morrison, 484 F.3d 284, 296 (4th Cir. 2007) (noting that a state

has    an    interest        in    “ensuring       .    .     .   that    its     residents       not

defraud insurance companies”).

       Having      established            that     a    genuine          conflict       exists,     a

Pennsylvania court would next determine “which state has the

greater      interest        in     the     application           of     its    law.”         Budtel

Assocs., 915 A.2d at 643.                   This approach requires the court to

“apply the law of the state having the most significant contacts

or relationships with the contract and not the underlying tort.”

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Nationwide Mut. Ins. Co. v. West, 807 A.2d 916, 921 (Pa.Super.

2002)     (citing        Caputo   v.     Allstate       Ins.    Co.,    495     A.2d    959

(Pa.Super. 1985)).

        Pennsylvania determines the most significant relationship

using the approach found in the Second Restatement of Conflicts

of Laws.     See Specialty Surfaces Int’l, Inc. v. Cont’l Cas. Co.,

609 F.3d 223, 233 (3d Cir. 2010) (applying Pennsylvania choice of

law principles); Hammersmith v. TIG Ins. Co., 480 F.3d 220, 232

(3d Cir. 2007) (same).             Section 193 of the Restatement applies

specifically        to     insurance      policies       and    provides       that    “the

principal location of the insured risk” should be the chief

consideration.           Id. at 233.      That rule is not especially useful,

however,     “if    the     policy       covers    a    group   of     risks    that    are

scattered     throughout          two     or   more     states.”         Id.     (quoting

Restatement (Second) Conflict of Laws § 193 cmt. b).                           Here, the

Policies list a Maryland address for the named insured, American

Capital.     (See ECF No. 49-8, Ex. D, at 4).                    That might indicate

that Maryland is the principal location of the insured risk.

See, e.g., Rouse Co. v. Fed. Ins. Co., 991 F.Supp. 460, 463

(D.Md. 1998) (citing inclusion of a company’s Maryland address

in the insurance contract as evidence of principal location of

insured     risk).          On     the     other       hand,    Plaintiffs       provided

Commercial General Liability Exposure Schedules reflecting that

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the    Policies   covered    locations    in   at    least      nine      different

states.     (See ECF No. 52-4, Ex. 1.2, at 2; ECF No. 52-5, Ex.

1.3, at 2; ECF No. 52-6, Ex. 1.4, at 2).             Therefore, Section 193

does not resolve the issue.

       When the geographic diversity of the covered risk renders

Section 193 “generally inapplicable,” Pennsylvania courts look

next   to   the   Second    Restatement    provision      governing        general

contracts, Section 188(2).        Hammersmith, 480 F.3d at 233.                 That

provision    lists   five   relevant     contacts:       “(1)       the   place   of

contracting; (2) the place of negotiation of the contract; (3)

the place of performance; (4) the location of the subject matter

of the contract; and (5) the domicile, residence, nationality,

place of incorporation and place of business of the parties.”

Id.    When applying these factors, the court does not undertake

“[a]    simple    tally     of   the   contacts      .   .      .     because     an

undifferentiated application of the formula to all situations

would yield unjust results in too many circumstances.”                       United

Brass Works v. Am. Guarantee & Liab. Ins. Co., 819 F.Supp. 465,

470 (W.D.Pa. 1992).

       Just as in Maryland, “[t]he place of making an insurance

contract is the place of delivery, where delivery is the last

essential act.”       Crawford v. Manhattan Life Ins. Co. of New

York, 221 A.2d 877, 880 (Pa.Super. 1966).                 Again, Defendants

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contend delivery occurred in Pennsylvania because the Policies

were delivered to their “producer,” McKee, in that state.                      Yet

under Pennsylvania law, if a company sends a policy to its agent

for delivery to the insured, the place of delivery is the place

where the insured receives the policy, not the agent.                   Crawford,

22 A.2d at 881.         Even if this were not the case, a Pennsylvania

court might presume delivery occurred at the residence of the

insured - in Maryland - given the murky state of the facts

concerning delivery at this time.               Hammersmith, 480 F.3d at 233.

Regardless, this factor weighs in favor of Maryland law.

      The    parties     did    not   submit    any    evidence   concerning   the

place of negotiation.            This factor weighs in favor of neither

Maryland nor Pennsylvania law.

      The third factor, the place of performance, looks to where

the   policyholder       paid    premiums      to     the   insurer.    Specialty

Surfaces, 609 F.3d at 233.            In the case of promises to indemnify

and defend, a court might also consider where the insurer’s duty

would arise, i.e., where the underlying litigation is taking

place.      Id.     Again, this factor is unhelpful.           The best evidence

available regarding payment indicates that American Capital made

payment      from     some     unspecified      location     (perhaps   Maryland,

perhaps Pennsylvania, or perhaps somewhere else entirely), to

the producer (in Pennsylvania), who then forwarded payment to

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Plaintiffs (in Connecticut).               (ECF No. 23 ¶ 81).         As for the

underlying litigation, the heparin lawsuits arose all over the

country,     with    many    of    them     currently     being   handled    in     a

multidistrict litigation proceeding in the U.S. District Court

for the Northern District of Ohio.                    See In re Heparin Prods.

Liab.    Litig.,     No.    1:08-hc-60000-JGC         (N.D.Ohio   filed   June     6,

2008).      None of these facts point to Pennsylvania or Maryland as

the more appropriate forum.

        The location of the subject matter looks to the principal

place of insured risk.            As has already been explained, the risk

is spread over a broad geographic area.                  Therefore, “this factor

is neutral.”       Hammersmith, 480 F.3d at 234.

        As to the parties’ locations, only the producer of the

Policies (McKee) and one of the potential additional insureds

(SMG) are located in Pennsylvania.                   (ECF No. 32 ¶¶ 20, 23, 25,

26;   ECF    No.    44,    Am.    Compl.    ¶    12).      Both   Plaintiffs      are

incorporated in Connecticut and have their principal places of

business there.           (ECF No. 44, Am. Compl. ¶¶ 8-9).                SPL is a

Delaware limited liability company with a principal place of

business     in    Wisconsin.        (Id.       ¶ 11).     American   Capital      is

incorporated in Delaware and has a principal place of business

in Maryland.        (Id. ¶ 10).     Given that the central parties to the

Policies (i.e., the named insured and the insurers) are from

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Maryland      and    Connecticut,      this       factor    suggests     Maryland    law

should apply over Pennsylvania law.                      See Gen. Star Nat’l Ins.

Co. v. Liberty Mut. Ins. Co., 960 F.2d 377, 379 (3d Cir. 1992)

(applying Pennsylvania choice of law principles and finding that

Pennsylvania        would    have     “little      interest”     in     protecting    an

insured from another state by means of regulating the conduct of

an insurer from another state).

        Taking   all    these   factors       together,      a   Pennsylvania    court

would apply Maryland law.             Under Pennsylvania choice of law, the

place of contracting took place in Maryland.                           That, combined

with the presence in this state of the only named insured listed

in the Policies, reflects that Maryland has the more substantial

interest in applying its law.                 The matter would be remitted to

Maryland; Maryland law therefore applies.

        B.    Rescission

        Plaintiffs seek to rescind the Policies because Defendants

allegedly      made    a    variety    of    misrepresentations          in   procuring

them.        Defendants seek to dismiss this claim on three bases:

(1) the parol evidence rule bars claims that rely on extra-

contractual         representations;        (2)    the     separation    of   insureds

clause bars any rescission against SPL; and (3) Plaintiffs have

inadequately pled promptness.               (See ECF No. 49-1).




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        1.         The Parol Evidence Rule

        Defendants          contend      that    the       parol    evidence     rule   bars

Plaintiffs’ claim for rescission, which Defendants suggest is

based on pre-contractual statements or agreements.                             (ECF No. 49-

1, at 33-51).               Defendants read a “Changes” provision in the

Policies       as     a    merger/integration          clause       that   forecloses    any

consideration of pre-contractual representations absent evidence

of     fraud.6            (ECF   No.    49-1,    at    44).         They   maintain      that

Plaintiffs’ claims fail because they do not establish fraud.

        a.         The Relevance of the Parol Evidence Rule

        Contrary to Defendants’ protestations, the parol evidence

rule is irrelevant in this context.                         Maryland courts have held

that        parol    evidence      may    “be    used       to     contravene    the    legal

existence of a contract” because the application of the parol

evidence rule “presupposes the existence of a legally effective

written agreement.”                Cochran v. Norkunas, 398 Md. 1, 15 n.6

(2007) (citing cases).                 Plaintiffs seek to rescind the policy as

void          ab      initio           because        of         Defendants’      purported

misrepresentations.              See Mut. Benefit Ins. Co. v. Lawrence, 189

F.Supp.2d 298, 302 (D.Md. 2002) (“[I]nsurance policies may be


        6
          The “Changes” provision reads: “This policy contains
all the agreements between you and us concerning the insurance
afforded.” (See, e.g., ECF No. 52-19, at 9; ECF No. 52-20, at
17).

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voided ab initio when an insurer issued a policy in reliance on

a   material    misrepresentation     in     the       application.”)   (quoting

Fitzgerald     v.   Franklin   Life   Ins.      Co.,    465   F.Supp.   527,   534

(D.Md. 1979)); accord Bryant v. Provident Life & Accident Ins.

Co., 22 F.Supp.2d 495, 497 (D.Md. 1998).                  “A void contract ‘is

not a contract at all.’”         Julian v. Bounassissi, 414 Md. 641,

666 (2010) (quoting Restatement (Second) of Contracts § 7).                     A

contract that never came into existence cannot implicate the

parol evidence rule.      Tricat Indus., Inc. v. Harper, 131 Md.App.

89, 108, (2000) (“Parol evidence is admissible, therefore, to

show that a writing never became effective as a contract.”); see

also Kronenberg v. Katz, 872 A.2d 568, 592 n.45 (Del.Ch. 2004)

(listing “learned authorities” in agreement).

      The existence of a merger/integration clause in each of the

Policies does not change the outcome.              As the Maryland Court of

Special Appeals explained:

             Notwithstanding that a writing appears to be
             a complete integration of the terms of an
             agreement    between    the   parties,  “parol
             evidence” is admissible to prove that the
             writing was executed for another reason
             altogether,    and   therefore   lacked  legal
             effect.   Indeed, in that circumstance, the
             evidence    in    question   is    not  “parol
             evidence.” It is not being offered to vary
             the terms of an integrated writing. Rather,
             it is being offered to show that the writing
             does not constitute a contract at all.


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Catholic Univ. of Am. v. Bragunier Masonry Contractors, Inc.,

139   Md.App.      277,   300    (2001)    (citations     omitted).          In        other

words, if a contract carries no legal effect from the start, a

court should treat the integration clause included within the

contract as equally worthless.

      b.     The Creamer Approach

      Defendants raise one case that might suggest that the parol

evidence rule is relevant.               In Creamer v. Helferstay, 294 Md.

107, 118 (1982), the Court of Appeals of Maryland held that

“[t]he parol evidence rule precludes the granting of relief for

unintentional       representations         preceding     the       contract           which

conflict     with   the    terms    of    the   contract.”          Thus,    under          the

Creamer      approach,     a     party    seeking      rescission      based           on     a

misrepresentation         must   establish      that    (1)   the     representation

involved “fraud or other intentional culpable conduct” or (2)

the   representation        does    not     contradict        the    terms        of        the

contract.     Id. at 117.

      Even    if    the   Creamer    approach     is    relevant      in     an    action

alleging     that    an    integrated      insurance     contract       is    void           ab

initio,7 Plaintiffs have sufficiently alleged that Defendants’




      7
          Creamer is not an insurance case.           Thus, its
reluctance to allow parol evidence may have been animated by its
unwillingness to expand what is, at least outside the insurance
                                  27
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misrepresentations               were       fraudulent.             A      fraudulent

misrepresentation           encompasses       five   elements:      (1)    “a     false

representation was made,” (2) “its falsity was either known to

the   maker   or    .   .    .    the     representation    was    made    with    such

reckless indifference to the truth as to be equivalent to actual

knowledge of falsity,” (3) “the representation was made for the

purpose of defrauding the plaintiff,” (4) “the plaintiff not

only relied on the representation but had a right to rely on it

and would not have done the thing from which the injury arose

had the misrepresentation not been made,” and (5) “the plaintiff

actually      suffered           damage      directly     resulting       from      the

misrepresentation.”           Swinson v. Lords Landing Vill. Condo., 360

Md.   462,    476   (2000).             Defendants   maintain     that    Plaintiffs’

amended complaint fails to plead facts establishing when a false

representation was made (and how it was false), how Plaintiffs

relied     upon     those        representations,         and     that    the     false

misrepresentations were intentionally made.                     The first amended

complaint states facts adequate to establish each of the three

contested elements.




context, “somewhat extraordinary relief.”                       Ryan v. Brady, 34
Md.App. 41, 49 (1976).

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     First, the amended complaint adequately pleads when and how

the alleged misrepresentations were made.8             A plaintiff must

specify   “the     time,    place,   and   contents     of   the       false

representations, as well as the identity of the person making

the misrepresentation and what he obtained thereby.”           Keeney v.

Larkin, 306 F.Supp.2d 522, 527 (D.Md. 2003) (quoting Harrison,

176 F.3d at 784).      But the rule does not “require[] [Plaintiffs]

to plead ‘detailed evidentiary matter’ in order to survive a

motion to dismiss.”        Keeney, 306 F.Supp.2d at 528.          Instead,

“[a] court should hesitate to dismiss a complaint under Rule

9(b) if the court is satisfied (1) that the defendant has been

made aware of the particular circumstances for which she will

have to prepare a defense at trial, and (2) that plaintiff has

substantial prediscovery evidence of those facts.”             Harrison,

176 F.3d at 784.

     The first amended complaint makes Defendants aware of the

“particular circumstances” constituting the alleged fraud.             In a

section   of     the    first   amended    complaint     titled    “False

Representations by American Capital,” Plaintiffs outline each

alleged misrepresentation.      The first amended complaint provides


     8
          Although Defendants characterize this question as a
“reliance” issue, it really goes towards the first element of
the elements of fraud:        establishing that a fraudulent
misrepresentation was made.

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dates,       points     to      relevant       documents,      and    specifies     the

particular answers that are purportedly false.                       (See, e.g., ECF

No. 44, Am. Compl. ¶¶ 34, 37, 40, 43, 46, 49, 52, 55, 58).                          See

also,       e.g.,    supra    Part    I.A.3.      The   first    amended     complaint

provides        that         American      Capital      made       each     of    these

representations.             And the first amended complaint provides the

particular pre-discovery facts that, if true, would render the

representations false.9               (See, e.g., ECF No. 44, Am. Compl. ¶¶

33, 37, 40, 43, 46, 49, 52, 55); see also, e.g., FDIC v. Great

Am. Ins. Co., 607 F.3d 288, 295 (2d Cir. 2010) (finding falsity

where facts established that “no reasonable interpretation of

the question” could lead the insured to conclude that it answer

provided       was    complete       and   truthful).       Such     allegations   are

enough.       See, e.g., Giannaris v. Cheng, 219 F.Supp.2d 687, 695

(D.Md.       2002)    (finding       complaint    sufficiently       pled   fraudulent

misrepresentation where descriptions placed defendants on notice




        9
          Defendants   contend   in   their  reply  brief   that
Plaintiffs “fail to allege any facts . . . which, if credited,
would establish that any statement in the ‘2006 application’ was
a false misrepresentation of [American Capital’s] understanding
as to any matter there in.”      (ECF No. 54, at 12).    Because
Defendants raised this falsity argument only on reply, the court
will not consider it. Cf. Hunt v. Nuth, 57 F.3d 1327, 1338 (4th
Cir. 1995).   Regardless, the above discussion makes clear that
Defendants’ argument on this point is wrong.

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of the subject of dispute, even where complaint did not include

“actual quotations or precise details”).

       Second,      the     first    amended       complaint     adequately      pleads

reliance.        The      complaint     states        that   Plaintiffs    relied   on

Defendants’      representations          to    calculate     “liability   exposures

and    the   scope     of    the    insurance     [American     Capital]   allegedly

sought.”      (ECF No. 44, Am. Compl. ¶¶ 2, 3).                  The first amended

complaint also explains what would have happened had American

Capital made accurate representations:

             If American Capital had provided truthful
             information that it had subsidiaries and/or
             that it sought coverage for other entities,
             or had disclosed any of the other matters
             identified above, Charter Oak and Travelers
             would not have issued insurance to American
             Capital, would have charged significantly
             greater premiums to American Capital, and/or
             have   issued   insurance  on   terms   that
             foreclosed coverage for liability relating
             to other entities.

(Id.    ¶    86).         The   amended        complaint     states   outright    that

Plaintiffs relied on the alleged misrepresentations.10                        (Id. ¶

119     (“American          Capital’s     misrepresentations,          concealments,

omissions, and otherwise false presentation of material facts to



       10
          The language of the Policies supports that allegation.
The Polices contain a “Representations” clause that states that
Plaintiffs “issued this policy in reliance upon [American
Capital’s] representations.” (See, e.g., ECF No. 52-19, at 94;
ECF No. 52-20, at 19).

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Charter Oak and Travelers . . . were relied upon by Charter Oak

and Travelers.”)).             It is axiomatic that an insurance company

relies    on    statements         made    during       the   application        process   to

determine the scope and nature of coverage.

     Defendants cite several pieces of extraneous evidence in an

attempt    to    show      that      Plaintiffs’        reliance     on    the    insurance

applications         was   unjustified        or    otherwise       implausible.           For

example, Plaintiffs cite an affidavit from a risk evaluator for

Plaintiffs, the signature lines of various policy applications,

certain missing application forms, American Capital’s website,

and “Answers.com.”            (ECF No. 49-1, at 48-50; ECF No. 54, at 28).

This is a motion to dismiss, not a motion for summary judgment.

As such, it is not appropriate to wrestle with these types of

factual issues at this stage.

     Third, and finally, the complaint pleads facts establishing

intent.          Plaintiffs’          complaint         alleges         that   Defendants’

misrepresentations were intentional.                      (ECF No. 44, Am. Compl. ¶¶

2, 4, 84, 118).             They support this allegation by pleading a

course    of    conduct       in     which   American         Capital     repeatedly       and

consistently         concealed       its     subsidiary          obligations,      even     in

response    to       specific      inquiries       from    Plaintiffs.           “[A]   legal

inference       of    fraud     is    permissible         from    the    conduct    of     the

parties.”        Fuller v. Horvath, 42 Md.App. 671, 685 (1979); see

                                                   32
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also Garcia v. Foulger Pratt Dev., Inc., 155 Md.App. 634, 685

(2003) (“Malice, fraud, deceit and wrongful motive are oftenest

inferred from acts and circumstantial evidence.                          They are seldom

admitted and need not be proved by direct evidence.” (quotations

omitted)).          Given       the     repeated    misrepresentations          Defendants

allegedly made and the vast array of information they allegedly

omitted, one could infer that something more than an innocent

mistake or misunderstanding was afoot.                      This is particularly so

when the named insured, American Capital, is a sophisticated

party        that    likely           understands        that     even     an      innocent

misrepresentation in an application can invalidate an insurance

policy in toto.            Jackson v. Hartford Life & Annuity Ins. Co.,

201   F.Supp.2d          506,   512     (D.Md.     2002)   (stating      principal      that

material       misrepresentations            in     applications         void     insurance

policies, even when made in good faith).                        Moreover, the intended

result from such representations would be obvious:                                American

Capital      would       pay    lower    premiums       because   its    disclosed      risk

exposure would be smaller.

        2.     The “Separation of Insureds” Clause

        Defendants and Plaintiffs both argue at great length about

the     effect      of     a    “separation        of    insureds       clause”    in    the




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Policies.11       Defendants argue that, even if one assumes that

American      Capital    made        actionable       misrepresentations,       the

separation     of    insureds       clause     bars   rescission     against    SPL

because it did not itself make any misrepresentations.                   (ECF No.

45-1, at 53).       Plaintiffs respond that the clause was only meant

to clarify that the term “insured” as used in an exclusion means

the insured claiming coverage.            (ECF No. 52, at 44).

      The parties’ long discussion on this issue is perplexing,

given that the amended complaint does not actually assert a

claim for rescission against SPL.                   The amended complaint only

states     that     “Charter       Oak   and    Travelers    are     entitled     to

rescission of the insurance contracts with American Capital.”

(ECF No. 44, Am. Compl. ¶ 121 (emphasis added)).                   The effect of

any   such    rescission       –    particularly      on   parties    other     than

American Capital – is therefore not an issue properly addressed


      11
          A severability clause is “[a] provision that keeps the
remaining provisions of a contract . . . in force if any
provision of that contract . . . is judicially declared void.”
Black’s Law Dictionary (8th ed. 2004). In the insurance context,
“[t]he purpose of severability clauses is to treat each entity
covered under the policy as if each were insured separately.”
St. Katherine Ins. Co. Ltd. v. Ins. Co. of N. Am., Inc., 11 F.3d
707, 710 (7th Cir. 1993); accord Litz v. State Farm Fire & Cas.
Co., 346 Md. 217, 229 (1997). The clause in this case reads, in
relevant part: “Except with respect to the Limits of Insurance,
and any rights or duties specifically assigned in this Coverage
Part to the First Named Insured, this insurance applies . . .
[s]eparately to each insured against whom claim is made or
“suit” brought.” (See, e.g., ECF No. 52-19, at 94).

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at this stage, when a rescission claim against SPL is nowhere to

be found in the first amended complaint.

        3.         Promptness

        Defendants         further   maintain    that    Plaintiffs       did       not   act

promptly in enforcing their rescission claim.                      (ECF No. 49-1, at

51-53).            According to Defendants, the contradictions found in

the 2006 insurance application should have placed Plaintiffs on

notice of the misrepresentation.                     (Id.).     Moreover, Defendants

contend        that    Plaintiffs       “repeated[ly]        affirm[ed]    .    .    .    the

parties’ respective duties owing under the Policies.”                          (Id.).

        Plaintiffs characterize this as an attempt to invoke the

doctrines of waiver and ratification.                        Waiver and ratification

are both affirmative defenses.12                     Attorney Grievance Comm’n of

Maryland v. Siskind, 401 Md. 41, 65 (2007); W.A.K. ex rel Karo

v. Wachovia Bank, N.A., No. 3:09CV575-HEH, 2009 WL 3669721, at

*1 (E.D.Va. Nov. 9, 2009).                As such, the burden of pleading and

establishing either of them rests on the defendant.                            McNeill v.

Polk,        476    F.3d   206,   220   n.3   (4th    Cir.    2007).      Typically,        a

determination that “promptness” is an affirmative defense rather


        12
          “Waiver connotes the voluntary relinquishment of a
known right.” Souter v. State Mut. Life Assurance Co., 273 F.2d
921, 925 n.6 (4th Cir. 1960). Ratification in this case refers
to “[a] person’s binding adoption of an act already completed
but . . . not done in a way that originally produced a legal
obligation.” Black’s Law Dictionary (8th ed. 2004).

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than an element of Plaintiffs’ case would sound the death knell

for   the   argument,   as   the   Fourth    Circuit   has   cautioned   that

affirmative defenses are rarely appropriate to consider at this

stage in the case:

            [A] motion to dismiss filed under Federal
            Rule of Procedure 12(b)(6). . .    generally
            cannot reach the merits of an affirmative
            defense . . . But in the relatively rare
            circumstances where facts sufficient to rule
            on an affirmative defense are alleged in the
            complaint, the defense may be reached by a
            motion to dismiss filed under Rule 12(b)(6).
            This principle only applies, however, if all
            facts necessary to the affirmative defense
            “clearly appear[] on the face of the
            complaint.”

Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th                 Cir. 2007)

(quoting Richmond, Fredericksburg & Potomac R.R. v. Forst, 4

F.3d 244, 250 (4th Cir. 1993)).

      In this case, however, promptness is not an affirmative

defense and is in fact an element of any claim for rescission:

            [I]n the general area of rescission it
            appears that the requirement of prompt
            action is an element of the plaintiff’s
            case, and the burden is upon the rescinding
            party to show that he acted promptly in
            seeking rescission.    The basis for placing
            this burden upon the rescinder is not
            addressed to the issue of liability, but
            stems from the drastic nature of the relief
            sought by the plaintiff, and it should be
            borne in mind that, failing rescission, the
            avenue of damages is still open to him.



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Johns Hopkins Univ. v. Hutton, 488 F.2d 912, 916 (4th Cir. 1973);

accord Finch v. Hughes Aircraft Co., 57 Md.App. 190, 244 (1984)

(“A plaintiff seeking rescission must demonstrate that he acted

promptly after discovery of the ground for rescission.”).

        The    facts     alleged     do    not   categorically     demonstrate   that

Plaintiffs            were   placed         on    notice     of     the     purported

misrepresentations by contradictions in the 2006 application, in

part because the first amended complaint does not plead any

facts explaining when Plaintiffs actually did become aware of

Defendants’           purported         misrepresentations.           Lacking     any

allegation of when Plaintiffs discovered the facts underlying

their        claim,    the   court      cannot   determine    if   Plaintiffs    have

alleged that they acted promptly.                       It is also impossible to

assess whether Defendants suffered any prejudice from any delay.

Benjamin v. Erk, 138 Md.App. 459, 483 (2001) (stating promptness

“is determined, in large part, by whether the period has been

long enough to result in prejudice.” (quoting Cutler v. Sugarman

Org., Ltd., 88 Md.App. 567, 578 (1991)).13

        In short, Plaintiffs have not alleged that they acted with

the   requisite         degree     of     promptness.      Therefore,     Plaintiffs’


        13
          Defendants cite a variety of communications that they
contend establish Plaintiffs’ failure to rescind promptly.   It
would be inappropriate to consider these items on a motion to
dismiss.

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rescission    claim    against     American      Capital    will     be   dismissed.

However, the dismissal will be without prejudice to American

Capital’s right to file a second amended complaint within 21

days that includes facts showing prompt action.

       C.    Reformation

       Plaintiffs’ first amended complaint alternatively requests

reformation    based    upon     either     mutual    mistake       or    unilateral

mistake.      (ECF No. 44 ¶¶ 122-32).               According to Defendants,

these claims fail for three reasons.                (ECF No. 49-1, at 31-33).

First, the first amended complaint does not show that Plaintiffs

ever    expressed     their    subjective        intentions        concerning     the

agreement.      Second, the mistake claim is implausible because

Plaintiffs    priced    a   loss    limit     for    $2    million       in   products

liability coverage.         Third, the complaint does not explain how

Plaintiffs took prompt action to correct the mistake.

       As the Court of Appeals of Maryland has explained:

             Insurance policies are no different from any
             other contract when the rules of law
             governing    the   reformation   of   written
             agreements are to be applied.      To justify
             the reformation of an insurance policy . . .
             it   is   necessary   that   it  appear,   by
             appropriate proof, that a valid agreement
             exists, and that by reason of fraud, or by
             mutual mistake on the part of both parties
             to the agreement, it does not conform to the
             actual agreement of the parties.




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Am. Cas. Co. of Reading, Pa. v. Ricas, 179 Md. 627, 634 (1941);

see also Julian, 414 Md. at 667 n.15 (“[W]hen a competent person

signs a contract or disposes of his or her property in the

absence of fraud, misrepresentation, mistake, undue influence,

or fiduciary relations, the contract will be enforced.”).                        Thus,

Plaintiffs must establish either mutual mistake or unilateral

mistake        paired    with     wrongdoing,     such   as    fraud,    to   obtain

reformation.           A contractual party has no right to reformation

merely because he discovers he has made a bad deal.                     Jaguar Land

Rover     N.     Am.,    LLC     v.   Manhattan    Imported     Cars,    Inc.,     738

F.Supp.2d 640, 650 (D.Md. 2010).

     Mutual mistake occurs “‘where there has been a meeting of

the minds [] and an agreement actually entered into, but the

instrument,       in    its     written   form,   does   not   express    what     was

intended by the parties thereto.’”                   Kishter v. Seven Courts

Cmty. Ass’n, Inc., 96 Md.App. 636, 640 (1993) (quoting Moyer v.

Title Guarantee Co., 227 Md. 499, 505 (1962)); accord Cross v.

Bragg, 329 F.App’x 443, 454 (4th Cir. 2009).                   In this case, the

first amended complaint pleads sufficient facts showing that the

parties reached a prior agreement that did not include coverage

for SPL or SMG.           American Capital purportedly represented that

it did not have any subsidiaries, provided loss summaries only

for American Capital itself, and listed only American Capital

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exposures     (classified     as    “office”)      in   the    Commercial          General

Liability Exposure Schedules it provided.                          (ECF No. 44, Am.

Compl. ¶¶ 34, 40-42, 61-75).              One might plausibly infer from

these actions that American Capital had only itself in mind when

it   sought    coverage.      On    the   other     side      of    the    transaction,

Plaintiffs allegedly did not charge American Capital a higher

premium to account for the increased risks of American Capital’s

subsidiary businesses.14           (Id. ¶¶ 3, 86).           Even if the complaint

does    not    specifically      describe     instances        wherein       Plaintiffs

expressed      their    intentions     with    words,        the    complaint       still

contains      sufficient    facts    to   support       an    inference       that     the

parties     held    a   common     understanding        of    what     the    insurance

contract was meant to encompass that was different from the

understanding memorialized in the Policies.                    See, e.g., Fidelity

& Guar. Ins. Co. v. Global Techs., Ltd., 117 F.Supp.2d 911, 914-

18     (D.Minn.     2000)   (reforming      insurance         policy       where    lower

premiums      and    insureds’     submissions      evidenced         no     intent     to



       14
          Certainly, there is also evidence that rebuts such an
inference, such as the fact that Plaintiffs purportedly “priced
a loss limit for the ‘Products-Completed Operations’ hazard.”
(ECF No. 49-1, at 39).     The mere existence of some contrary
facts, however, does not render a claim implausible.    This is
especially so on a motion to dismiss. After all, not even on a
motion for summary judgment is a court allowed to resolve
conflicts in the evidence.     TFWS, Inc. v. Schaefer, 325 F.3d
234, 241 (2003) (citations and quotations omitted).

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provide       additional      coverage    erroneously      included   in   policy);

Twin City Fire Ins. Co. v. Pittsburgh Corning Corp., 813 F.Supp.

1147, 1150 (W.D.Pa. 1992) (same).15

       The     fact    that    the    Policies    included     Stipulated     Forms

Schedules does not change the outcome, at least at this stage.16

(ECF No. 49-1, at 39).               Stipulations may be set aside on the

same grounds as other contracts.                 See, e.g., C&K Lord, Inc. v.

Carter, 74 Md.App. 68, 94 (1988) (“A stipulation has all the

binding force of a contract.              It will not be set aside absent a

showing of good cause such as collusion, fraud, mutual mistake

or   other     grounds     that   would    justify   the    setting   aside   of   a

contract.”).          If an integrated agreement may be reformed on the

basis of mutual mistake, Annapolis Mall Ltd. P’ship v. Yogurt

Tree of Annapolis, Inc., 299 Md. 244, 252 (1984), a stipulation

can be as well.

       The fact that the mistake was repeated in all six of the

Policies also does not preclude reformation.                   (ECF No. 49-1, at

39).        The reality is that insurance policies are often renewed



       15
          Moreover, Plaintiffs have adequately pled unilateral
mistake in the alternative.
       16
          The Stipulated Forms Schedules may later prove to be
persuasive evidence on the issue of whether there truly was
mutual mistake, but the court does not evaluate the evidence at
the motion to dismiss stage.

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from policy period to policy period on the same terms using

standard forms, and parties seem to fail on occasion to review

every term of a policy when renewing it.                             Perhaps for that

reason, courts have allowed reformation even where the mistake

is repeated.           See, e.g., Caliber One Indem. Co. v. Wade Cook

Fin. Corp., 491 F.3d 1079, 1083 (9th Cir. 2007) (reforming policy

on   grounds      of    mutual    mistake      where       mistake    was     “unwittingly

repeated”        in    a   second     policy     period);          Polaroid      Corp.    v.

Travelers        Indem.    Co.,       414     Mass.    747,        759    (1993)     (“[The

policyholder]          relies    on   the     fact    of    the    repetition       of   the

alleged mistake to argue that one must infer that there was no

mistake.         Such an inference is not warranted as a basis for

concluding that there is a dispute of material fact as to [the

insurer]’s intention.”); see also Byerley v. Odd Fellows’ Home

of Oregon, 149 Or. 665, 669 (1935) (“It matters not where the

mistake originated, or how often it is reiterated.”).

       Finally,        Defendants     suggest     that      the    reformation      claims

must   be   dismissed       because         Plaintiffs      failed       to    rectify   the

mistake     in    a     timely    fashion.           (ECF    No.     49-1,     at   39-41).

Defendants are correct that “[t]he universally recognized rule

is   that    the       application     for     the     reformation        of    a   written

instrument must be made promptly and that time runs from the

discovery of the mistake.”                  White v. Shaffer, 130 Md. 351, 351

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(1917).      But unlike the rescission claim, promptness is not a

prima facie element of Plaintiffs’ reformation claim.                             Rather,

this argument relies in substance on affirmative defenses of

waiver, laches, and ratification.               As such, Defendants bear the

burden of showing that the facts necessary to establish the

defense “clearly appear on the face of the complaint.”                         Goodman,

494 F.3d at 464.

       There is no suggestion on the face of the complaint that

Plaintiffs        waived       their   claims      or       ratified        Defendants’

understanding      of    the    Policies.       See    Keeler    v.    Mayor      &    City

Council of Cumberland, 928 F.Supp. 591, 594 (D.Md. 1996) (“The

complaint cannot be dismissed on the basis of the affirmative

defense      of   waiver,       however,    when      the   issue     is    the       legal

sufficiency       of    the    plaintiffs’    complaint.”).            In    short,      it

cannot be said as a matter of law that Plaintiffs waited too

long    to   advance     this    claim.      Plaintiffs’        reformation       claims

based on mutual and unilateral claims will not be dismissed.

       D.    Declaratory Judgment on the Duty to Defend

       Finally, Defendants move to dismiss Plaintiffs’ request for

declaratory judgment as to the duty defend in four suits they

dub the “Representative Suits.”17             (ECF No. 49-1, at 54-57).                  In



       17
          The four suits are Best v. Baxter Healthcare Corp.,
No. 1:09-hc-60042-JGC, MDL Docket No. 1953 (N.D.Ohio); Heard v.
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addition     to    dismissal,      Defendants       also    ask    that    the     court

declare, as a matter of law, that “the June 2007 Primary Policy

requires Charter Oak to fund a defense of the Representative

Suits.”      (ECF No. 49-2, at 1-2).               Defendants plan to use this

declaration to establish the “‘law of the case’ as to some or

all of the remaining complaints.”             (ECF No. 49-1, at 4).

        In   substance,      Defendants       have        asked    for     their      own

declaratory       judgment    on    the     duty    to     defend.        Judge    Blake

recently     explained    the      nature    of     the    duty    to    defend     under

Maryland law:

             The promise to defend and indemnify the
             insured is the consideration received by the
             insured for payment of the policy premiums.
             In Maryland, the duty to defend is broader
             than the duty to indemnify.       Whereas a
             company has a duty to defend its insured for
             all claims that are potentially covered
             under an insurance contract, the duty to
             indemnify, i.e., pay a judgment, attaches
             only upon liability.

Penn.    Nat’l     Mut.   Cas.     Ins.     Co.    v.     City    Homes,    Inc.,     719

F.Supp.2d     605,   611-12      (D.Md.     2010)       (quotations      and   internal

citations omitted).          To determine whether an insurer has a duty

to defend a particular case, Maryland courts ordinarily ask two


Baxter Healthcare Corp., No. 1:08-hc-60049-JGC, MDL Docket No.
1953 (N.D.Ohio); Vincent v. Baxter Healthcare Corp., No. 1:09-
hc-60001-JGC, MDL Docket No. 1953 (N.D.Ohio); and Glass v.
Baxter Int’l, No. 1:08-hc-60023-JGC, MDL Docket No. 1953
(N.D.Ohio).

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questions:       “(1)   [W]hat       is    the    coverage    and      what    are   the

defenses     under    the    terms   and    requirements         of    the    insurance

policy? (2) [D]o the allegations in the tort action potentially

bring the tort claim within the policy’s coverage?”                           St. Paul

Fire & Marine Ins. Co. v. Pryseski, 292 Md. 187, 193 (1981).

While     the   first       question      focuses     on     the       “language     and

requirements of the policy,” the second question depends on the

allegations in the underlying tort suit.                   Id.        Any doubt as to

whether the insurer owes a duty to defend should be resolved

against the insurer.           Chendenin Bros., Inc. v. U.S. Fire Ins.

Co., 390 Md. 449, 460 (2006); accord Litz, 346 Md. at 231.

        Now is not the appropriate time to resolve the duty to

defend issue.        A district court possesses “broad discretion” in

determining how to handle a claim for declaratory judgment.                           S.

Carolina Dep’t of Health & Envtl. Control v. Commerce & Indus.

Ins. Co., 372 F.3d 245, 260 (4th Cir. 2004).                           An attempt to

determine the duty to defend at this time would be frustrated by

a host of complications.          See, e.g., Cloverleaf Enters., Inc. v.

Maryland Thoroughbred, Horsemen’s Assoc., Inc., 730 F.Supp.2d

451, 469 (D.Md. 2010) (concluding “[i]t would be premature to

dismiss [a] declaratory judgment count” where the “status of the




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contract is unclear”).           The Policies might be declared void.18

If    the   Policies     are   not   void,   their      terms   may   nevertheless

change      if   Plaintiffs     succeed      on   their     reformation       claim.

Defendants might have breached the policies by settling with

Baxter.      At least one exclusion, the joint venture exclusion,

may apply.       And it is not even clear at this point whether SPL

is an insured under these policies.

       Thus,     an    early   declaration      would    not    “serve   a    useful

purpose in clarifying and settling the legal relations in issue,

and . . . terminate and afford relief from the uncertainty,

insecurity,      and    controversy    giving     rise    to    the   proceeding.”

Penn-America Ins. Co. v. Coffey, 368 F.3d 409, 412 (4th Cir.

2004).      “Moreover, when the claims for which declaratory relief

are requested are so closely intertwined with the nondeclaratory

claims, ‘judicial economy counsels against dismissing the claims

for     declaratory       judgment     relief     while        adjudicating’    the

nondeclaratory claims.”          Great Am. Ins. Co. v. Gross, 468 F.3d

199, 210 (4th Cir. 2006) (quoting Chase Brexton Health Servs.,

Inc. v. Maryland, 411 F.3d 457, 466-67 (4th Cir. 2005)).                     Because

later relief could upset any declaration on the duty to defend



       18
          Although the court has dismissed the claim for
rescission without prejudice, there is a probability that the
claim will reappear.

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made    now,    granting      Defendants’   requested    relief     also   would

ignore the mandate that discretionary judgments should “not be

exercised to try a case piecemeal,” Doby v. Brown, 232 F.2d 504,

506 (4th Cir. 1956).

       Although it does not provide the binding authority on this

issue, the Court of Appeals of Maryland has eloquently stated an

additional reason why courts should not dismiss a declaratory

judgment claim at an early stage:

               Where a bill of complaint shows a subject
               matter that is within the contemplation of
               the relief afforded by the declaratory
               decree statute, and it states sufficient
               facts to show the existence of the subject
               matter   and  the   dispute  with  reference
               thereto, upon which the court may exercise
               its declaratory power, it is immaterial that
               the ultimate ruling may be unfavorable to
               the plaintiff.   The test of the sufficiency
               of the bill is not whether it shows that the
               plaintiff is entitled to the declaration of
               rights or interest in accordance with his
               theory, but whether he is entitled to a
               declaration at all; so, even though the
               plaintiff may be on the losing side of the
               dispute, if he states the existence of a
               controversy which should be settled, he
               states a cause of suit for a declaratory
               decree.

120 West Fayette St., LLLP v. Mayor & City Council of Baltimore

City,     413    Md.   309,     356   (2010)     (citations   and    quotations

omitted)).       The court will deny Defendants’ motion to dismiss

the declaratory judgment claim and will make no declaration at


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this    time    concerning      Plaintiffs’     duty    to    defend     the

Representative (or any other) Suits.

IV.    Conclusion

       For the foregoing reasons, Defendants’ motion to dismiss

the first amended complaint will be granted in part and denied

in part.    A separate order will follow.



                                             /s/
                                   DEBORAH K. CHASANOW
                                   United States District Judge




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